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                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF NEW YORK


                                                    :
  Sarah Edmondson, et al.,                          :
                                                    :    CIVIL ACTION
                                  Plaintiffs,       :
                          v.                        :    NO. 20-CV-485 (EK) (CLP)
                                                    :
  Keith Raniere, et al.                             :
                                                    :
                                Defendants.         :
                                                    :


                            DECLARATION OF STEVEN M. STEINGARD

             I, Steven M. Steingard, declare and state as follows:

             1.     Pursuant to Local Civil Rule 1.4, I respectfully request to leave to withdraw my

  appearance as counsel for plaintiffs in the above-captioned action and direct the Clerk to

  terminate my ECF noticing. KOHN, SWIFT & GRAF, P.C. will continue to represent plaintiffs

  in this case.

             2.     Because the same law firm will continue to represent the plaintiffs, this

  withdrawal will not impact the future conduct of the litigation in any way or prejudice any

  parties.


  Dated: May 27, 2022                                   /s/ Steven M. Steingard
                                                        Steven M. Steingard
                                                        Kohn, Swift & Graf, P.C.
                                                        1600 Market Street, Suite 2500
                                                        Philadelphia, PA 19103-7225
                                                        (215) 238-1700
                                                        (214) 238-1968
                                                        ssteingard@kohnswift.com

                                                        Attorneys for Plaintiffs
